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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,
                                                    CASE NO.: 1:22-CV-00633
        PLAINTIFF,

V.
                                                    JUDGE SARA L. ELLIS
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                    MAGISTRATE JUDGE DAVID WEISMAN
        DEFENDANTS.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, with prejudice, as to the following Defendant identified on Schedule A:

         Def. No.                            Defendant Store Name
            54                                       ori-store


      Dated:     May 3, 2022                 Respectfully submitted,

                                             /s/ Alison Carter
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                                             Alison Carter
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